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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE


 SHAWN MCBREAIRTY,

                 Plaintiff,                               Case No. 1:24-cv-00053-LEW

    v.

 BREWER SCHOOL DEPARTMENT,                            SUGGESTION OF DEATH AS TO
 GREGG PALMER, in his personal and                   PLAINTIFF SHAWN MCBREAIRTY
 official capacities, BRENT SLOWIKOWSKI,
 in his personal and official capacities,
 MICHELLE MACDONALD, in her personal
 and official capacities,

                 Defendants.


         Undersigned counsel hereby suggests on the record that Plaintiff, Shawn McBreairty,

passed away on June 3, 2024. This Suggestion of Death is made without waiving any party’s right

to seek substitution in place of Mr. McBreairty as a party in accordance with Fed. R. Civ. P. 25(a)

at a later date, as undersigned counsel further suggests that one or more of the claims are not

extinguished.


         Dated: July 2, 2024.                      Respectfully Submitted,

 /s/ Robert J. Morris                             Marc J. Randazza (pro hac vice)
 Robert J. Morris, II (ME Bar No. 010402)          Lead Counsel
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                                       Suggestion of Death
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                                  CERTIFICATE OF SERVICE

        I hereby certify that, on July 2, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       /s/ Robert J. Morris
                                                       Robert J. Morris




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                                         Suggestion of Death
